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                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               BEAUMONT DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
V.                                               §    CASE NO. 1:09-CR-134(2)
                                                 §
GLEN ELZIE DUNCAN                                §

                           MEMORANDUM ORDER
              ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                        ON DEFENDANT’S GUILTY PLEA

       The Court referred this matter to the Honorable Keith F. Giblin, United States Magistrate

Judge, for administration of a guilty plea under Rules 11 and 32 of the Federal Rules of Criminal

Procedure. Judge Giblin conducted a hearing in the form and manner prescribed by Federal Rule

of Criminal Procedure 11 and issued his Findings of Fact and Recommendation on Guilty Plea

Before the United States Magistrate Judge [Clerk’s doc. #65]. The Magistrate Judge recommended

that the Court accept Defendant’s guilty plea and conditionally accept the plea agreement. He further

recommended that the Court finally adjudge Defendant as guilty on Count Two of the Indictment

filed against Defendant in this cause.

       The parties have not objected to the magistrate judge’s findings. The Court is of the opinion

that the Findings of Fact and Recommendation on Guilty Plea should be accepted. It is, therefore,

ORDERED that the Findings of Fact and Recommendation on Guilty Plea [Clerk’s doc. #65] of

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the United States Magistrate Judge are ADOPTED. The plea agreement is conditionally accepted

by the Court at this time. It is further ORDERED that, in accordance with Defendant’s guilty plea

and the magistrate judge’s findings and recommendation, Defendant, Glen Elzie Duncan, is hereby

adjudged as guilty on Count Two of the charging Indictment charging violations of Title 21, United

States Code, Section 841(a)(1).

    So ORDERED and SIGNED this 25 day of January, 2010.




                                                  ___________________________________
                                                  Ron Clark, United States District Judge




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